Case 2:23-cv-02163-TLP-tmp Document 92 Filed 06/07/23 Page 1 of 1                   PageID 1464




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 FRIENDS OF GEORGE’S, INC.,                      )
                                                 )
        Plaintiff,                               )
                                                 )        No. 2:23-cv-02163-TLP-tmp
 v.                                              )
                                                 )
 STEVEN J. MULROY, in his official and           )
 individual capacity as District Attorney        )
 General of Shelby County, TN,                   )
                                                 )
        Defendant.                               )


                                         JUDGMENT


JUDGMENT BY THE COURT. This action came before the Court on Plaintiff’s Complaint,

filed on March 27, 2023. (ECF No. 1.) In accordance with the Findings of Fact and

Conclusions of Law (ECF No. 91), the Court enters this judgment in favor of Plaintiff, declaring

the Adult Entertainment Act (2023 Tenn. Pub. Acts, ch. 2 (codified at Tenn. Code. Ann. §§ 7-

51-1401, and -1407)) UNCONSTITUTIONAL and PERMANENTLY ENJOINS Defendant

District Attorney General Steven J. Mulroy from enforcing the Act within his jurisdiction in

SHELBY COUNTY, TENNESSEE.

s/Thomas L. Parker
THOMAS L. PARKER
UNITED STATES DISTRICT JUDGE

June 7, 2023
Date




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